         Case 2:23-cv-01043-JWH-KES Document 18 Filed 03/06/23 Page 1 of 7 Page ID #:703
Name and address:
                 Christina N. Goodrich (SBN 261722)
                           K&L GATES LLP
               10100 Santa Monica Boulevard, 8th Floor
                    Los Angeles, California 90067

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER
Entropic Communications, LLC
                                                         Plaintiff(s),                           2:23-cv-01043-JWH-KES

                  v.
                                                                               APPLICATION OF NON-RESIDENT ATTORNEY
DISH Network Corporation, et al.                                                     TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                         PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Ghavimi, Darlene F.
Applicant's Name (Last Name, First Name & Middle Initial)                                           check here if federal government attorney
K&L Gates LLP
Firm/Agency Name
2801 Via Fortuna, Suite 650                                              (512) 482-6919                         (512) 482-6859
                                                                         Telephone Number                       Fax Number
Street Address
Austin, TX 78746                                                                            darlene.ghavimi@klgates.com
City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:
Entropic Communications, LLC                                             ✖   Plaintiff(s)    Defendant(s)      Other:
                                                                             Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                         Date of Admission             Active Member in Good Standing? (if not, please explain)
State Bar of Delaware                                      11/09/2008                Yes
State Bar of Pennsylvania                                   4/11/2008                Yes
State Bar of Texas                                          5/05/2010                Yes

G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 of 3
      Case 2:23-cv-01043-JWH-KES Document 18 Filed 03/06/23 Page 2 of 7 Page ID #:704

List all cases in which the applicant has app ·ed to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title ofAction                            Date of Application          Granted I Denied?
2:22-cv-07775-JWH-JEM                   Entropic Communications, LLC v.                           11/4/2022                     Granted
                                        DirecTV, LLC et al.




If any pro !we vice applications submitted v.itb.in the past three (3) years have been denied by the Court, please explain:
  NIA




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration ( or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) 1 am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated March 3, 2023                                      Darlene F. Ghavimi


                                                                  c1;;;x:tJ!i:::~ ·
                                                                        Applicant's Signature


G-64 (09/20)               APPLICATION OP NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 2of3
        Case 2:23-cv-01043-JWH-KES Document 18 Filed 03/06/23 Page 3 of 7 Page ID #:705

SECTION III - DESIGNATION OF LOCAL COUNSEL
Go,odrich, Christina N.
Des ignee's Name (Last Name, First Name & Middle Initial)
K&L Gates LLP
Finn/Agency Name
10 100 Santa Monica Boulevard, 8th Floor                           (310) 552-5547                       (310) 552-5001
                                                                   Telephone Number                     Fax Number
Str,eet Address                                                    christina.goodrich@klgates.com
Lo:s Angeles, CA 90067                                             Email Address
Ci~y, State, Zip Code                                              261722
                                                                   Designee's California State Bar Number

I he:reby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated   3 \ (c \ '}.D'J2:,                          _C_h_ri_st_in_a_N_._G_o_o_d_r_ic_h_ _ _ _ _ _ _ __


                                                                   Dr~~=t;IriJch
                                                                   Designee's Signature
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

 State Bar of New Jersey- 2008 - In Good Standing




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page 3 of3
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      SUPREME COURT OF THE STATE OF DELAWARE


                CERTIFICATE OF GOOD STANDING


       The Clerk of the Supreme Court of the State of
  Delaware, the highest Court in the State, certifies that
  Darlene F. Ghavimi was admitted to practice as an attorney
  in the Courts of this State on December 11, 2008 and is an
 active member of the Bar of the Supreme Court of the State
 of Delaware in good standing.


                              IN TESTIMONY WHEREOF,
                               I have hereunto set my hand and
                               affixed the seal of said Court at Dover
                              th·s 20th day of February 2023.
                                                ~
                               Lisa A. Dolph
                               Clerk of the Supreme Court
Case 2:23-cv-01043-JWH-KES Document 18 Filed 03/06/23 Page 5 of 7 Page ID #:707




                          ~upreme Qtoutt of ~enn.splbania


                       CERTIFICATE OF GOOD STANDING


                         Darlene F. Ghavimi-Alagha, Esq.

                                   DATE OF ADMISSION

                                       April 11, 2008




        The above named attorney was duly admitted to the bar of the Commonwealth of
                Pennsylvania, and is now a qualified member in good standing.




                                                Witness my hand and official seal
                                                    Dated: February 22, 2023



                                                           Nicole Traini
                                                           Chief Clerk
Case 2:23-cv-01043-JWH-KES Document 18 Filed 03/06/23 Page 6 of 7 Page ID #:708




                  STATE BAR OF TEXAS


  Office of the Chief Disciplinary Counsel

  February 17, 2023



  Re: Ms. Darlene Fae Ghavimi, State Bar Number 24072114


  To Whom It May Concern:

  This is to certify that Ms. Darlene Fae Ghavimi was licensed to practice law in Texas on May 05,
  2010, and is an active member in good standing with the State Bar of Texas. "Good standing" means
  that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
  requirements; and is not presently under either administrative or disciplinary suspension from the
  practice of law.


  This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
  operation of rule or law.


  Sincerely,




  Seana Willing
  Chief Disciplinary Counsel
  SW/web




     P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
Case 2:23-cv-01043-JWH-KES Document 18 Filed 03/06/23 Page 7 of 7 Page ID #:709




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              I,      WILLIAM T. WALSH,                          Clerk of the United States District
  Court for the District of New Jersey, do hereby certify that:


                           11Barlene jf. <!9babtmt
  was duly admitted to practice in said Court as of June 02, 2008, and is
  in good standing as a member of the Bar of said Court.



  Dated at Trenton, New Jersey
  on: February 23, 2023

                                             WILLIAM T. WALSH, CLERK

                                          By     <AJ,i}J;J{} ~
                                                      Ashley Katsikis,
                                                      Deputy C lerk




             U. S. District Court for the District of New Jersey does not entertain a grievance committee.
                         Contact Board of Bar Examiners, New Jersey State Supreme Court.
